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Jonathan L. Howell - Section Head of
Bankruptcy, Resiructuring, & Creditors’ Rights
Direct Dial: (214) 273-6409

Facsimile: (214) 723-5966

ihowell@ mecathernlaw.com

October 23, 2014

Via Federal Express (Overnight Delivery):

Energy Future Holdings Corp. Claims Processing Center
c/o Epiq Bankruptcy Solutions, LLC

757 Third Avenue, 3rd Floor

New York, NY 10017

Re; — Red Ball Oxygen Company's Proof of Claim for Luminant Mining
Company LLC, Case No. 14-11042 (CSS)

To Whom It May Concern:

Enclosed you will find one orginal and one copy of Red Bail Oxygen Company's
proof of claim to be filed in the above-referenced bankruptcy case pending in the U.S.
Bankruptcy Court for the District of Delaware. The proof of claim is for a total amount of
$70,015.93, of which $21,509.54 is for § 503(b)(9) administrative expenses. Please file the
original proof of claim in the official claims registry and file stamp and return the copy to:

Jonathan L. Howell
McCathern PLLC
Regency Plaza

3710 Rawlins Street, Suite 1600
Dallas, Texas 75219

For your convenience, | have also enclosed an envelope addressed to the address stated
above.

If there are any complications or questions you need answered, please feel free to
contact me directly.

Yours truly,

Jonathan L. Howell

3710 Rawlins St. Ste. 1600! Dallas, Texas 75219 | Phone: 214.273.6409 | Pax: 214.723 5066 | meeahernlaw.com
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OAK GROVE MANAGEMENT COMPANY LLC

Customer invoice Number | Purchase Order Number | Amount (SUM) Contract | 503(b}{9)
45296 LUMINANT OAK GROVE SES 3035024 36555 5 (4,529.00)},CO760211C
45296 LUMINANT OAK GROVE SES 3035025 40268 $ {5,418.78 CO760211C
45296 LUMINANT OAK GROVE SES 3068645 CRECHT PIPE S {5,700,00),CO760211C
45296 LUMINANT GAR GROVE SES 3070503 S (2.14 CO7E0211C
45296 LUMINANT OAK GROVE SES 3137961 S (39.41}CO766210C
45296 LUMINANT OAK GROVE SES 3137974 S (37 .47}CO760210C
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TOTAL CLAIM AMOUNT

$ 24,346.29

| TOTAL 503(b)(9) CLAIM

S$ 10,203.60

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IN THE UNITED STATES BANKRUPTCY COURT
POR THE DISTRICT OF DELAWARE

In re: Chapter [1

ENERGY FUTURE HOLDINGS CORP., Case No. 14-10979 (CSS)

etal. (Jointly Administered)
Debtors.

ATTACHMENT OF RED BALL OXYGEN COMPANY TO
PROOF OF CLAIM

Red Ball Oxygen Company (“Red Ball”) hereby submits this attachment to its proof of
claim (the “Proof”), and in support thereof respectfully show the Court as follows:

1. Red Ball requests allowance and payment of an administrative expense claum
for the value of gases and other welding supplies (collectively, the “Red Ball Goods”) supplied
to Energy Future Holdings Corporation and its affiliated debtors (collectively, the “Debtors”)
within the twenty (20) day period prior to April 29, 2014 Ghe “Petition Date”), which

amount aggregates $150227.34 (the “503(b)9) Claim”). To support the 503(b)(9) Claim.

attached hereto as Exhibit_| is a summary of the invoices for the Red Ball Goods. Other
documentation, including the master supply contracts between Red Ball and the Debiors, is
available upon request. Red Ball requests that its 503¢b)(9) Claim be allowed and paid in
fall.

2, The Goods were delivered to the Debtors in the ordinary course of the
Debtors’ business. The 303¢b)(9) Claim is based only on the value of the Red Ball Goods
and not for services. {if any additional information is required to substantiate the 503(b)(9)
Claim, then such information will be made available upon request.

3, The service of this Application is without presudice to any claims,

ATTACHMENT TO RED BALL OXYGEN COMPANY PROOF OF CLAIM - Page |

Case 14-10979-CSS Doc 4637-9 Filed 06/01/15 Page 22 of 36

defenses, setoffs, recoupment rights, and any other rights that Red Ball may have, whether
prepetition or postpetition, contingent or uncontingent, liquidated or unliquidated, and the
assertion of this Proof shall in no way prejudice or limit the ability of Red Ball to assert any
and all other claims that they may have against the Debtors. Red Ball expressly reserves its
right to amend and/or supplement this Proof as otherwise appropriate, to assert other
administrative expenses or postpetition claims, and to assert prepetition claims of any and all
types and priorities.

Dated: September 29, 2014 CIARDI CIARDI & ASTIN
Wilmington, Delaware

ési faseph J McMahon, Jr.

Daniel K. Astin, Esq. (No. 4068)

John D. McLaughlin, Jr,, Esq. (No. 4123)
‘Joseph J. McMahon, Jr, Esq. (No. 4819)
1204 N. King Street

Wilmington, DE 19801

Phone: (302) 658-1100

Facsimile: (302) 658-1300

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McCathern PLLC
Jonathan L. Howell, Esp.
Texas Bar No. 24053668
jbowelleemecathernlaw.com
Regency Plaza

3710 Rawlins, Suite 1600
Dallas, TX 75219

Phone (214) 741-2662
Facsimile: (214) 741-4717

Counsel to Red Ball Oxveen Company

ATTACHMENT TO RED BALL OXYGEN COMPANY PROOF OF CLAIM - Page 2

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Case 14-10979-CSS Doc 4637-9 Filed 06/01/15 Page 31 of 36

_ MCCATHERN

Section Head ~ Bankrupicy, Restructuring & Creditors’ Rights
ihowellka mecathernlaw com

May 16, 2014

DEMAND FOR RECLAMATION OF GOODS OR
QUALIFICATION OF SHIPPER/MATERIALMAN ADMINISTRATIVE CLAIM

Via Overnight Mail:

To: Energy Futures Holdings Corp.
Att: Legal Department
Energy Plaza
1601 Bryan Street
Dallas, Texas 75201

Richards Layton & Finger, P.A.
Atin: Mark D. Collins

920 North King Street
Wilmington, Delaware 19801

Kirkland & Ellis LLP

Attn: Richard M. Cieri

601 Lexington Avenue

New York, New York 10022-4611

Kirkland & Ellis LLP

Attn: James H.M. Sprayregen, P.C.
300 North LaSalle

Chicago, Hlinois 60654

Re: In re Energy Futures Holdings Corp., et al, Jointly Administered Case No. 14-
10979, (Bankr, D. Delaware); Red Ball Oxygen Company's Demand for
Reclamation or Qualification for Shipper/Materialman Administrative Claim

Dear Debtor Representative:

This letter is to provide notice, pursuant to 11 U.S.C. § 346(c)(1), of the reclamation of
goods, comprised of gas and other welding supplies, ordered and received by multiple affiliated
debtors of Energy Futures Holdings Corp. (collectively, “the Debtors”) from Red Ball Oxygen
Company (“Red Ball”) after March 14, 2014 for, among other things, the routine welding
construction or maintenance at the Debtors’ facilities. Enclosed is Schedule A identifying goods
{the “Goods”) aggregating $408,399.70, which were ordered by the Debtors and seld and
shipped by Red Ball in the ordinary course of business but nevertheless remain unpaid. The
Debtors should immediately stop any use of and segregate the Goods, setting the Goods aside for
pickup by Red Ball. Please confirm promptly that the Debtors will honor this demand, following

3710 Rawlins Si, Ste. [600 | Dallas, Texas 75219 | Phone: 214.273.6400 | Pay: 214.723.5466 | mocathernlexcom
Case 14-10979-CSS Doc 4637-9 Filed 06/01/15 Page 32 of 36

MeCathern, PLLC

EFHC ~ Reclamation Demand
May 16, 2014
Page 2

which we can coordinate a mutually convenient date and time for Red Ball to reclaim possession
of the Goods.

To the extent some or all of the Goods were received by the Debtors on or after April 29,
2014, Red Ball further requests that the Debtors qualify Red Ball as a “Claimant” and the
applicable enclosed orders as “Outstanding Orders,” as those terms are used or defined in the
Order Authorizing the Debtors to (A) Grant Administrative Expense Priority to All Undisputed
Obligations for Goods and Services Ordered Prepetition and Delivered Postpetition and Satisfy
such Obligations in the Ordinary Course of Business and (B) Pay Prepetition Claims of
Shippers, Warchousemen, and Materiaimen, such that the resulting unpaid invoiced amounts,
less any legitimate offsets, are granted administrative expense priority status in accordance with
11 U.S.C. § 503(b), given that the Goods were, or are being, used primarily by the Debtors for
welding construction or maintenance of their facilities.

Nothing in this demand letter shall constitute a waiver of any rights, remedies, or interests
of Red Ball. Red Ball makes this demand without prejudice to all other rights, remedies, and
interests of, and available to, Red Ball, including, without limitation, Red Ball's right to amend
or supplement this demand letter and to seek the allowance of an administrative expense claim
pursuant to 11 U.S.C. § 503(b)(9).

Yours truly,

MCCATHERN, PLLC

Jonathan L. Howell

JLHAT
Enclosure

ce: Ciardi Ciardi & Astin
Attn: Joseph J. McMahon, Jr.
1204 N. King Street
Wilmington, Delaware 19801

Red Ball Oxygen Company
Attn: Bob Ewing

609 N. Market Street
Shreveport, Louisiana 71107

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